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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS



  UNITED STATES OF AMERICA,

                  Plaintiff,



   vs.                                                   Case No. 18-10106-EFM



  ADDISON LEWIS and BRANDI LEWIS,

                  Defendants.




                                MEMORANDUM AND ORDER

         Before the Court is Defendants Addison and Brandi Lewis’ Motion to Suppress (Doc. 50).

Defendants seek to suppress evidence stemming from a Veterans Affairs (“VA”) Compensation

and Pension (“C&P”) examination. The Court held a hearing on the motion on September 22 and

24, 2020. For the following reasons, the Court denies Defendants’ Motion to Suppress.

                          I.     Factual and Procedural Background

         The VA consists of three subsidiaries. The Veterans Health Administration (“VHA”)

provides veterans with testing, C&P exams, and other healthcare services. The Veterans Benefits

Administration (“VBA”) makes benefit decisions and monitors benefit disbursements. The
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Veterans Affairs Office of Inspector General (“OIG”) acts as the agency’s primary internal

watchdog but is governed independently from the VHA and VBA.1

        Pursuant to its directive to investigate fraud and waste within the VA, the OIG decided to

identify veterans possessing valid driver’s licenses while concurrently receiving disability benefits

for visual impairment. In 2017, Addison Lewis was rated as 100% blind by the VBA but possessed

a valid Kansas driver’s license. As a result, the OIG opened an investigation into Addison Lewis

and shared all relevant information with the VBA, which in turn also reviewed Lewis’ file. The

VBA then contacted Lewis to set up a C&P examination to verify his disability status.

        The VBA collaborated with the OIG and VHA to schedule the C&P exam for September

28, 2017. OIG Agent Tim Mugrage contacted the VHA optometrist who would conduct the

examination, Dr. John Volosin, and requested his consent to record the examination. Volosin gave

his consent, and Mugrage and the VBA installed a camera to covertly record video and audio of

the exam. The OIG did not obtain a search warrant for these actions.

        Addison and Brandi Lewis attended the September 28 C&P exam. Volosin performed

several medical tests, physically examined Addison, and interviewed him about his symptoms and

medical history. In addition to conducting standard C&P exam tests for visual impairments,

Volosin also performed supplementary tests, one of which was designed to determine whether

veterans were malingering and misleading VHA providers. Notably, Addison’s actions convinced

Volosin that he was malingering. Following the exam, Volosin recorded his findings without

noting his opinion that Lewis was malingering, or otherwise describing Lewis’ behavior

throughout the exam. However, Volosin conveyed his opinion that Lewis was malingering to


         1
           Testimony indicated that OIG agents ultimately report to the IG—who is appointed directly by the
President—rather than the Secretary of Veterans Affairs.



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Mugrage. Mugrage reviewed the video and audio recording of the C&P exam and Volosin’s

written and oral findings. Following that review, Mugrage was also convinced that Lewis was

malingering.

        As part of the same investigation but separate from the C&P exam, the OIG installed a

surveillance camera on a public utility pole across the street from Defendants’ residence. The OIG

did not obtain a search warrant to install the camera. The camera recorded Addison Lewis working

in his yard and driveway, picking up the mail, entering and leaving the property in motor vehicles,

and generally performing actions inconsistent with 100% visual impairment.

        A grand jury indicted the Defendants with conspiracy to defraud the United States, theft of

VA benefits, and theft of Social Security Administration benefits. Defendants now jointly move

to suppress the evidence stemming from the C&P exam, arguing it violated their Fourth, Fifth, and

Fourteenth Amendment rights. Defendants also moved to suppress the pole camera video, arguing

that it violates their reasonable expectation of privacy.

        The Court held a hearing on the motions on September 22 and 24. At that time, the Court

denied Defendants’ motion to suppress the pole camera footage, concluding that neither Tenth

Circuit nor Supreme Court Fourth Amendment law extends the right of privacy to an area of

Defendants’ property visible from a public road.2 The Court took Defendants’ remaining motion

to suppress under advisement and rules on it now.




        2
           The Court noted that Fourth Amendment law does not distinguish what a car driving by or a covertly
installed surveillance camera can see; the area of a defendant’s property clearly visible from a public area and not
within the curtilage of the home is not protected by the right of privacy.



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                                             II.      Legal Standard

A.      Fourth Amendment

        The Fourth Amendment states: “The right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures, shall not be violated . . . .”3

Under the exclusionary rule, “evidence obtained in violation of the Fourth Amendment cannot be

used in a criminal proceeding against the victim of the illegal search and seizure.”4 If a search or

seizure violates the Fourth Amendment, the “fruit of the poisonous tree” doctrine prohibits the

admission of any subsequently obtained evidence, including information, objects, or statements.5

Searches must be authorized by a warrant unless an exception to the warrant requirement applies.6

The government bears the burden to prove that a warrantless search or seizure was justified.7

B.      Fifth and Fourteenth Amendments

        To protect a suspect’s Fifth Amendment right against self-incrimination, law enforcement

officers must administer the prophylactic warnings set forth in Miranda v. Arizona before

interrogating any suspect held in custody.8 Failure to advise a suspect of the Miranda rights

renders inadmissible all statements made during a custodial interrogation.9 The Government

concedes that Defendant did not receive a Miranda warning and that his interview with law




        3
            U.S. CONST. amend. IV.
        4
            United States v. Calandra, 414 U.S. 338, 347 (1974).
        5
            Wong Sun v. United States, 371 U.S. 471, 487–88 (1963).
        6
            California v. Carney, 471 U.S. 386, 390 (1985).
        7
            United States v. Zubia-Melendez, 263 F.3d 1155, 1160 (10th Cir. 2001) (citations omitted).
        8
            384 U.S. 436, 444 (1966).
        9
            Id. at 492.



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enforcement officers was an interrogation. The issue before the Court, therefore, is whether

Defendant was in custody at the time of the interrogation.10

         In Miranda, the Supreme Court stated that a suspect is in custody when “deprived of his

freedom of action in any significant way.”11 The custody determination is objective—courts

consider how a reasonable person would feel under the same circumstances and ignore the

subjective views of the interrogating officers.12 Courts assume the reasonable person “does not

have a guilty state of mind and does not have peculiar mental or emotional conditions that are not

apparent to the questioning officer.”13                Examining the totality of circumstances from the

perspective of the reasonable person, courts engage in a fact-specific analysis of the following

factors: (1) whether law enforcement officers informed the suspect that he or she was free to leave

or to refrain from answering questions; (2) the nature and length of the questioning; and (3)

whether the circumstances gave rise to a police-dominated atmosphere.14

         Although a Fourteenth Amendment due process argument analyzes the same factors as a

Fifth Amendment custody determination, the inquiry focuses on the suspect’s motivations for

speaking with the police rather than the suspect’s objective state of being. Just as a suspect who

is questioned at a police station may not be “in custody” for purposes of Miranda, a suspect may



         10
            See United States v. Revels, 510 F.3d 1269, 1273 (10th Cir. 2007) (noting that a Miranda warning is
necessary when “(1) the individual [is] in custody, and (2) the individual [is] subjected to questioning that meets the
legal definition of interrogation”).
         11
          384 U.S. at 444. See also Berkemer v. McCarty, 468 U.S. 420, 441 (1984) (noting that a defendant is in
custody when “subjected to restraints comparable to those associated with a formal arrest”).
         12
          See Berkemer, 468 U.S. at 442; Revels, 510 F.3d at 1275 (citing Stansbury v. California, 511 U.S. 318,
323 (1994)).
         13
              United States v. Erving L., 147 F.3d 1240, 1247 (10th Cir. 1998).
         14
              See United States v. Griffin, 7 F.3d 1512, 1518–19 (10th Cir. 1993), accord Revels, 510 F.3d at 1275.



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not be “in custody” but still feel coerced into giving a confession. For example, the police may

tell a suspect that he is free to leave, but threaten future consequences that compel the suspect to

answer incriminating questions or divulge inculpatory information. For that reason, courts must

ensure that statements admitted at trial violate neither the Fifth nor Fourteenth Amendments.

                                                 III.     Analysis

       Defendants’ ask the Court to suppress evidence collected during the September 28, 2017

C&P exam under two theories. First, Defendants argue that the warrantless recording of the exam

was an unconstitutional search in violation of the Fourth Amendment and that the Court should

therefore suppress the audio and video recordings. Second, Defendants contend that under the

Fifth Amendment, the Court should suppress their statements made during the C&P exam because

they were involuntary and because the exam constituted a custodial interrogation without a

preceding Miranda warning. At the hearing, the Court rejected Defendants’ Fifth Amendment

claim as being meritless. Defendants voluntarily attended the C&P exam and were at no time

restrained or otherwise prevented from leaving. Although Defendants were motivated to attend

the exam for fear of losing disability benefits, that hardly approaches the nature of a custodial

interrogation under the Fifth Amendment.                  As such, the Court denies Defendants’ Fifth

Amendment claim and proceeds to the remaining Fourth Amendment claim.

       Generally, “application of the Fourth Amendment depends on whether the person invoking

its protection can claim a . . . ‘reasonable . . . expectation of privacy’ that has been invaded by

government action.”15 To determine whether a defendant has a reasonable expectation of privacy,




       15
            Smith v. Maryland, 442 U.S. 735, 740 (1979) (internal citations omitted).



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courts apply the two-part test outlined by the Supreme Court in Katz v. United States.16 Courts

first look to “whether the individual, by his conduct, has ‘exhibited an actual (subjective)

expectation of privacy.’”17 Next, courts consider “whether the individual’s subjective expectation

of privacy is one that society is prepared to recognize as reasonable.”18

       This case is remarkably similar to the District of Montana’s case in United States v.

Hughes.19 Accordingly, the Court finds Hughes’ reasoning persuasive to this case. In Hughes,

the defendant was charged with theft of government services stemming from various

misrepresentations to the VA.20 The defendant was rated as 100% disabled based on his diagnosed

multiple sclerosis, although he was seen riding a motorcycle, carrying his wheelchair, and not

using his cane.21 As part of a criminal investigation opened by the OIG, agents from the VBA,

VHA, and OIG coordinated a C&P exam that they covertly recorded.22 They did not obtain a

warrant to do so, but the OIG agent did receive the VHA provider’s consent to record the exam.23

The defendant sought to suppress the video and audio recording from the exam, contending it

violated his reasonable expectation of privacy and was a warrantless search under the Fourth

Amendment.24




       16
            389 U.S. 347 (1967).
       17
            Smith, 442 U.S. at 740 (quoting Katz, 389 U.S. at 361).
       18
            Id. (internal quotations omitted).
       19
            2019 WL 4740256 (D. Mont. 2019).
       20
            Id. at *1.
       21
            Id.
       22
            Id. at *2.
       23
            Id.
       24
            Id. at *2–3.



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       The court in Hughes ruled that the defendant’s argument failed at the first step of Katz

because he did not display a subjective expectation of privacy, stating that “[a] defendant generally

has no privacy interest in that which he voluntarily reveals to a government agent.”25 The court

pointed out that:

       Hughes did not expect that his conversation with [the C&P examiner] would be
       shared freely. However, the test is not whether a defendant would expect or
       welcome law enforcement surveillance; if it were, the first step of the Katz test
       would always be satisfied. It is enough that, upon conclusion of the exam, Hughes
       expected [the C&P examiner] to share the results of the questionnaire with
       government actors who were not involved in providing medical treatment to
       Hughes but instead in assessing his disability to ensure the appropriate provision of
       benefits.26

Notably, the court added that “[t]he use of audio and video recording technology does not alter the

equation. A defendant ‘cannot reasonably argue that a recording violates his legitimate privacy

interest when it reveals no more than what was already visible to the agent.’”27

       In this case, Defendants similarly fail to satisfy the first step of Katz. They willingly

attended the C&P exam to remain eligible for VA benefits. They agreed to adhere to the VHA’s

procedures, and they did not object to Volosin conducting the exam. It would be objectively

unreasonable for a similarly situated veteran to believe that Volosin would not disclose information

from the exam to the VBA or other VA agents. In fact, the entire purpose of the C&P exam—as

clearly indicated in the VHA’s disclosures—is to evaluate a veteran’s disability for the purpose of

making benefits decisions. The means used to convey such information do not alter a veteran’s

reasonable expectation of privacy. It is immaterial whether Volosin informed the VBA via detailed



       25
            Id. at *4 (quoting United States v. Wahchumwah, 710 F.3d 862, 867 (9th Cir. 2013)).
       26
            Id. at *5.
       27
            Id. (quoting Wahchumwah, 710 F.3d at 867) (alteration omitted).



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written note, comprehensive oral description, or visual and audio recording. What matters is that

Defendants’ lacked a subjective expectation of privacy because they knew information from the

C&P exam would be conveyed to other VA agents for the express purpose of determining

Addison’s ongoing eligibility for benefits.

       This analysis is analogous to the Fourth Amendment issue concerning the pole camera.

Had the pole camera captured the interior or exterior of Defendants’ house—or even past their

trees—they would have had a stronger expectation of privacy because someone driving by on the

public road could not have seen the same. But the areas of their property exposed to the public

were not within the purview of their reasonable expectation of privacy. Similarly, Defendants

lacked a reasonable expectation of privacy in the C&P exam because they knew Volosin would

convey his findings to the VBA. The information they willingly exposed to him, they willingly

exposed to the VBA. Volosin could have written an incredibly detailed and descriptive report,

approaching the specificity of the visual recording. Even though he did not do so, Defendants

nevertheless knew that he could. Simply because a camera captured a similar level of detail does

not invalidate Defendants’ subjective expectations. As such, the Court concludes that Defendants

fail to satisfy the first step of Katz and therefore denies their Fourth Amendment claim.

       IT IS THEREFORE ORDERED that Defendants’ Joint Motion to Suppress (Doc. 50) is

DENIED.

       IT IS SO ORDERED.

       Dated this 2nd day of October, 2020.




                                                      ERIC F. MELGREN
                                                      UNITED STATES DISTRICT JUDGE


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